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                         EXHIBIT C
To:        Robertson, James <jrobertson@amilink.com>
Cc:        Case
           Tillett, 2:20-cv-02924-DMG-PVC
                    Andy <atillett@amilink.com> Document 13-14 Filed 06/30/20 Page 2 of 2 Page ID #:144
From:      Simpson, Andrea[asimpson@radaronline.com]
Sent:      Wed 10/3/2018 7:27:37 PM (UTC)
Subject:   Re: another great story - crossing fingers

 Meeting with source on this to see texts etc tomorrow at 9 am.
